             In the
        Court of Appeals
Second Appellate District of Texas
         at Fort Worth
     ___________________________

          No. 02-24-00120-CR
     ___________________________

JOSE NORBERTO GONZALEZ, Appellant

                     V.

         THE STATE OF TEXAS


  On Appeal from the 30th District Court
          Wichita County, Texas
   Trial Court No. DC30-CR2023-1055


    Before Kerr, Birdwell, and Bassel, JJ.
   Memorandum Opinion by Justice Kerr
                           MEMORANDUM OPINION

      Appellant Jose Norberto Gonzalez was convicted of repeatedly violating a

protective order and was sentenced to six years’ incarceration. After his conviction,

Gonzalez moved the trial court to set an appeal bond. The trial court denied the

motion because there was good cause to believe that Gonzalez was likely to commit

another offense while on bail. Gonzalez appeals from the trial court’s order denying

his appeal-bond motion, arguing in two points that the trial court erred by

(1) admitting into evidence at the appeal-bond hearing a use-of-force report and three

inmate-incident reports regarding Gonzalez’s behavior in the county jail and

(2) improperly considering information from the Public Safety Report System. We will

affirm.

                                    I. Background

      On the morning of May 19, 2023, Gonzalez and his wife of 21 years, F.G.

(Flora),1 had a disagreement, and she told him that she wanted to separate. He

responded by slapping her across the face. She then tried to leave their home, but as

she explained at trial, the situation worsened:

      I was going to get out and I got my keys for the van. [I] said I’m going to
      call the police . . . . [Gonzalez] grabbed the telephone. He grabbed it and
      he said, No, you’re not gonna call anybody. And he said, And you’re not
      going anywhere, and he grabbed my keys out of my hand.

      1
       We use an alias to protect Gonzalez’s victim’s identity. See Tex. R. App. P.
9.8 cmt.; 2d Tex. App. (Fort Worth) Loc. R. 7; McClendon v. State, 643 S.W.2d 936,
936 n.1 (Tex. Crim. App. [Panel Op.] 1982).


                                            2
              ....

              . . . [H]e grabbed me and threw me on the floor. . . . [H]e grabbed
      [a] bat and he hit me right here, and he told me that he could kill me.

             And I told him please think about the kids. [I] said you’re gonna
      kill me and you’re gonna go to jail and the children are going to be left
      alone.

              And I kept pushing him . . . so I could leave. He still grabbed
      me . . . on the floor. And then he put his arms around my neck. And he
      said he wouldn’t let me go. And I told him, Just let me leave. . . . I got up
      and he helped me get up. And then I opened the door and I took off
      and he went after me.

      One of the couple’s children 2 called the police, and Gonzalez fled. But police

soon found him and arrested him.

      Flora filed a protective-order application. On May 22, 2023—four days after

the assault—a district court signed a temporary ex parte protective order. Among

other things, the temporary order prohibited Gonzalez from committing family

violence against Flora and her household and family members, from directly

communicating with her and her household and family members, and from going

within 100 yards of Flora’s residence. The order warned that any violation of its terms

could result in criminal penalties. The order further warned that no person, including

Flora, could give permission to anyone to ignore or violate any of the order’s

provisions.

      2
       After they married, Flora and Gonzalez had three children. In May 2023, the
children ranged in age from 13 years old to 19 years old. Gonzalez also has two older
children from prior relationships; Flora considers these children to be her own.


                                           3
       When a sheriff’s deputy served the temporary protective order on Gonzalez

(who was still in jail at the time) and started to explain the order’s terms, Gonzalez

said, “Fuck that,” and then ripped the order out of the deputy’s hands and threw it

into a trash can.

       After Gonzalez’s release from jail, he violated the temporary protective order

twice. On May 26, 2023, Gonzalez went inside the couple’s home because he wanted

to take a shower. Flora was not at home at the time, but some of their children were.

As one of them called the police to report a violation of the temporary order,

Gonzalez said, “[P]lease don’t call them,” indicating his awareness that he was not

supposed to be in the home. Gonzalez then hid in one of the children’s bedrooms.

When law enforcement arrived, an officer found Gonzalez inside the child’s bedroom,

lying in bed, and covered up with some blankets. The officer arrested him for

violating the temporary protective order. Gonzalez acknowledged to the arresting

officer that he was aware of the protective order.

       Just over a week later, on June 3, 2023, while Gonzalez’s mother and some of

the children were at the couple’s home, Flora—through one of the children—gave

Gonzalez permission to come there under the condition that he stay outside. When

Gonzalez arrived, he kicked the home’s locked front door and demanded that she

open it. One of the children opened the door, told Gonzalez that Flora did not want

him to come inside, and pushed him away from the door. One of the other children

called the police. When a police officer arrived, Gonzalez told the officer that he

                                           4
“knew he wasn’t supposed to be over there, but . . . he was invited.” Gonzalez

claimed that Flora had texted him permission to come to the home. But he was

unable to provide those text messages to the officer, and the officer could not find

any such text messages on Gonzalez’s cellphone. The officer arrested Gonzalez for

violating the temporary protective order.

      On June 14, 2023, a district court signed an agreed final protective order. The

final order contained similar prohibitions to those in the temporary order. It granted

Flora exclusive use of the couple’s residence and, like the temporary order, prohibited

Gonzalez from going within 100 yards of it. Also like the temporary order, the final

order warned that any violation of its terms could result in criminal penalities and that

no person—including Flora—could give Gonzalez permission to violate any of its

provisions. The final order was served on Gonzalez in open court.

      As with the temporary order, Gonzalez violated the final protective order. On

June 24, 2023, while Flora and two of the children were running errands, one of the

children received a notification on his cellphone that movement had triggered a

security camera he had recently installed outside Flora’s home. The child saw live

video of Gonzalez lurking around the home’s exterior before climbing through a

window; the child called the police. Police officers eventually found Gonzalez hiding

underneath a bed. Gonzalez was uncooperative and refused to come out. The officers

had to drag him out, and he was yelling and belligerent as they arrested him. Flora

later saw broken glass beneath the window through which Gonzalez had entered.

                                            5
      Not even a month later, on July 19, 2023, Flora awoke at about 2:00 a.m. to

someone crying and knocking on her back door, which leads into her bedroom. When

she cracked open the door to see what was going on, Gonzalez forced himself inside.

He asked Flora for forgiveness. One of the children called the police. The police

arrived and arrested Gonzalez for repeatedly violating the protective order.

      A Wichita County grand jury indicted Gonzalez for repeatedly violating a

protective order. See Tex. Penal Code Ann. §§ 25.07, 25.072. The amended indictment

alleged that during a continuous period of 12 months or less—June 24, 2023, through

July 19, 2023—Gonzalez had intentionally or knowingly violated the final protective

order’s terms two or more times on June 24, 2023, and July 19, 2023, by intentionally

or knowingly going to or near Flora’s residence. See id. §§ 25.07, 25.072.

      The case was tried to a jury in February 2024. The State presented the evidence

summarized above. Gonzalez testified in his defense. He denied slapping Flora,

hitting her with a bat, pushing her down, and choking her. He claimed that she was

“making that all up.” He also complained that he remained confused about why the

protective orders had been issued against him.

      Gonzalez explained that he had thrown the temporary protective order into the

trash because he had been “confused.” He claimed that the first time he was arrested

for violating the temporary protective order, he did not know that he was prohibited

from being at the couple’s home because he had thrown away “the papers” and had

not read them. He further claimed that he did not know that there was a protective

                                            6
order against him until he was arrested for violating the temporary order for a second

time. Gonzalez also testified that after both protective orders had been signed, Flora

had contacted him and had enticed him to communicate with her and to meet with

her.

       On cross-examination, Gonzalez admitted that by June 14, 2023, he knew that

a protective order existed because he had agreed to the final protective order’s

issuance that day. He also admitted to three prior assault convictions for assaults that

occurred in 1995, 1997, and 1999, respectively; the victim in the latter two was the

mother of Gonzalez’s oldest child. Finally, when the State asked him, “[Y]ou’re not

going to comply with any Court’s order, are you?” Gonzalez responded, “I mean, I

think I’m innocent.”

       The jury found Gonzalez guilty of repeatedly violating a protective order as

alleged in the indictment and then determined his punishment. Flora testified about

domestic-violence incidents that had occurred in 2022: in February or March 2022,

Gonzalez grabbed her by the throat, and in August 2022, he hit her with a curtain rod.

After hearing other punishment evidence and the parties’ closing arguments, the jury

assessed Gonzalez’s punishment at six years’ confinement. 3 The trial court sentenced

Gonzalez accordingly.


       Gonzalez faced up to ten years’ confinement, but the jury assessed his
       3

punishment at six years. See Tex. Penal Code Ann. §§ 12.34(a), 25.072(e). The jury also
had the option of recommending that Gonzalez’s sentence be suspended and that he
be placed on community supervision, but the jury did not do so.

                                           7
      Gonzalez moved the trial court to set reasonable bail pending appeal. See Tex.

Code Crim. Proc. Ann. art. 44.04.4 At the start of the hearing on Gonzalez’s appeal-

bond motion, the trial court stated that it was going to consider information from the

Public Safety Report System. The trial court then heard testimony from Gonzalez’s

witnesses.

      Patricia Espinoza, who had been Gonzalez’s friend for over a decade, testified

that Gonzalez’s pretrial bond was never revoked and that if Gonzalez were released

on an appeal bond, he had full-time employment lined up with a previous employer,

and he could live with her at her home, which is a ten-minute drive from Flora’s

home. She further testified that she would help monitor Gonzalez’s whereabouts and

would help him follow any bail conditions, specifically not having contact with Flora.

She averred that she would report Gonzalez to the authorities “if he went someplace

he wasn’t supposed to go.” She also testified that Gonzalez’s family members would

help him make bail and would assist her in monitoring Gonzalez. But on cross-

examination, Espinoza admitted that during the case’s pendency, she had driven

Gonzalez to Flora’s home knowing that he was not supposed to be there.

      Gonzalez’s aunt, Rosa Aguilar, testified that she would help Gonzalez follow

his bail conditions, including staying away from Flora. Aguilar claimed that she would

report Gonzalez to the court if he violated that condition. Similarly, Flora’s neighbor

      4
        Gonzalez’s direct appeal is currently pending before this court in Gonzalez v.
State, No. 02-24-00150-CR (Tex. App.—Fort Worth filed Apr. 30, 2024).


                                          8
(and Gonzalez’s former neighbor), Stephanie Bishop, testified that she would inform

the trial court or “tell probation” if she saw Gonzalez go near Flora’s house.

       After Gonzalez rested, the State offered into evidence four exhibits—a use-of-

force report and three inmate-incident reports—“outlin[ing] disciplinary records in

the county jail since [Gonzalez] was remanded to the custody of the sheriff.”

Gonzalez objected to these exhibits on hearsay, relevancy, and Confrontation Clause

grounds. The trial court overruled these objections and admitted the four exhibits into

evidence. The State also asked the trial court to judicially notice the evidence and

testimony offered at trial. Gonzalez stated that he had no objection and asked the trial

court to judicially notice that although the jury had sentenced him to six years’

confinement, he was probation eligible. The trial court granted both judicial-notice

requests.5 The trial court also admitted into evidence a copy of Gonzalez’s criminal

history, which showed that he had been arrested several times since 1994. It also

reflected Gonzalez’s three prior assault convictions, as well as a 2000 conviction for

      5
        The same trial-court judge had presided over Gonzalez’s trial. See Ex parte
Turner, 612 S.W.2d 611, 611–12 (Tex. Crim. App. [Panel Op.] 1981) (holding taking of
judicial notice at appeal-bond hearing of evidence adduced at prior revocation hearing
before same judge proper); Barrientez v. State, 500 S.W.2d 474, 475 (Tex. Crim. App.
1973) (holding trial judge presiding over revocation hearing could take judicial notice
of evidence adduced at criminal trial over which he presided); see also Hernandez v. State,
No. 11-16-00278-CR, 2017 WL 1275627, at *2 (Tex. App.—Eastland Mar. 31, 2017,
no pet.) (mem. op., not designated for publication) (“The trial court acted
appropriately when it considered the evidence presented at the prior hearing. Both of
the proceedings—the hearing on the motion to adjudicate Appellant’s guilt and the
hearing on his motion for an appeal bond—were before the same judge.” (citation
omitted)).


                                            9
failing to identify. The trial court then reiterated that it would be considering the

information in the Public Safety Report System.

         Later that day, the trial court signed an order denying Gonzalez’s motion for

reasonable bail pending appeal, finding that “good cause exists to believe that the

[d]efendant is likely to commit another offense while on bail.” In its order, the trial

court stated that it had considered the testimony and evidence from the appeal-bond

hearing, counsel’s arguments at the hearing, the court’s file, information from the

Public Safety Report System, and the testimony and evidence from Gonzalez’s jury

trial.

         Gonzalez timely appealed from the trial court’s order and raises two points:

(1) the trial court erred by overruling his objections and admitting into evidence the

four exhibits related to his disciplinary history in the county jail and (2) the trial court

erred by considering information from the Public Safety Report System. We address

these points in reverse order because doing so aids in our disposition of this appeal.

                     II. Standard of Review and Applicable Law

         We review the denial of a request for bail pending appeal for an abuse of

discretion. See Ex parte Spaulding, 612 S.W.2d 509, 511 (Tex. Crim. App. 1981). When

reviewing matters committed to the trial court’s discretion, we do not substitute our

own judgment for that of the trial court. See Gonzalez v. State, 544 S.W.3d 363,

370 (Tex. Crim. App. 2018). Instead, we ask whether the trial court’s decision was

made without reference to any guiding rules or principles of law; in other words,

                                            10
whether the trial court’s decision was arbitrary or unreasonable. See Montgomery v. State,

810 S.W.2d 372, 380 (Tex. Crim. App. 1990). We uphold the trial court’s decision as

long as it falls within the zone of reasonable disagreement. See Gonzalez, 544 S.W.3d at

370.

       Article 44.04 allows certain defendants convicted of felony offenses to be

released on bond pending appeal. See Tex. Code Crim. Proc. Ann. art. 44.04(b)–(c).

The primary objective of an appeal bond is to secure the appellant’s apprehension if

his conviction is subsequently affirmed. Ex parte Rubac, 611 S.W.2d 848, 849 (Tex.

Crim. App. [Panel Op.] 1981). In weighing bail pending appeal, the trial court should

consider factors including the length of the sentence; the nature of the offense; the

appellant’s work record, family ties, and length of residency; his ability to make bail;

his prior criminal record and conformity with previous bond conditions; and any

aggravating factors in the offense. Id. at 849–50. But a trial court may deny bail

altogether “if there . . . exists good cause to believe that the defendant would not

appear when his conviction became final or is likely to commit another offense while

on bail.” Tex. Code Crim. Proc. Ann. art. 44.04(c).

                III. The Public Safety Report System Information

       In his second point, Gonzalez argues that the trial court erred by considering

information from the Public Safety Report System (PSRS) that was never offered or

admitted into evidence.



                                           11
       Article 17.022 of the Texas Code of Criminal Procedure requires a magistrate

to consider a public-safety report generated by the PSRS when “considering the

release on bail of a defendant charged with an offense punishable as a Class B

misdemeanor or any higher category of offense.”6 Id. art. 17.022. The PSRS provides,

among other things, information about a defendant’s criminal history, including

information about the defendant’s previous convictions, pending charges, and

previous failures to appear in court after being released on bail. Id. art. 17.021(b).

       To support his argument regarding the trial court’s consideration of the PSRS

information, Gonzalez asserts that

       Neither the State ([n]or the judge) provided [him] with a copy of the
       Public Safety Reporting System information referenced by the Court as
       “Exhibit 5” or afforded [him] an opportunity to object to or comment
       upon this report before the Court ruled on Defendant’s bail motion.
       Exhibit 5 appears in the record as [Gonzalez’s] criminal history, but
       since [he] never had a chance to examine the PSRS he cannot say with
       certainty what the district court actually reviewed in making his decision.

       At the start of the appeal-bond hearing, the trial court notified the parties that

it was going to consider information from the PSRS: “[F]or purposes of this hearing,

the [c]ourt will also note that it’s going to review, consider[,] and take into account the


       6
        A defendant’s right to bond pending appeal is governed by the provisions of
Article 44.04 and Chapter 17 of the Texas Code of Criminal Procedure. Dallas v. State,
983 S.W.2d 276, 278 n.1 (Tex. Crim. App. 1998), disapproved of on other grounds by Ex
parte Anderer, 61 S.W.3d 398, 404–05, 405 n.33 (Tex. Crim. App. 2001); see Ex parte
Davila, 623 S.W.2d 408, 409–10 (Tex. Crim. App. 1981) (stating that after an accused
is convicted and initiates postverdict proceedings, Article 44.04’s provisions modify
and supplement Chapter 17’s procedures concerning bail).


                                            12
information in the [PSRS].” Toward the end of the hearing, the trial court asked the

State for Gonzalez’s criminal history—which the trial court admitted into evidence as

Exhibit 5—and reiterated that it was going to consider information from the PSRS:

      THE COURT: And, [the State], do you have a criminal history on this? I
      saw it in the Public Safety Report[ ] System yesterday, but I’m now
      getting an error message. Do you have that?

      [THE STATE]: I can provide the Court with a copy of his TCIC[7] and
      that won’t be as recent as that, but --

      THE COURT: Okay, right. Well, I saw it yesterday, but for some reason
      I’m now getting an error message within that system. But I have
      considered what -- or will consider what’s in the Public Safety Report[ ]
      System. So if you could, if you’ll get that printed and we’ll mark it as
      Exhibit 5.

      [THE STATE]: Yes, Judge.

      [DEFENSE COUNSEL]: And if I could get a copy sometime of that?
      Because I didn’t -- I have a limited amount of stuff that I’ve received
      from the previous lawyers,[8] Judge.

      THE COURT: I understand. And do the parties still rest and close?

      [DEFENSE COUNSEL]: Yes.

      [THE STATE]: Yes.

      Contrary to Gonzalez’s appellate argument, Exhibit 5 is his criminal history,

not the PSRS information the trial court considered in denying his appeal-bond


      7
       TCIC stands for the Texas Crime Information Center system. Ellis v. State,
535 S.W.3d 209, 211 n.1 (Tex. App.—Fort Worth 2017, pet. ref’d). The Texas
Department of Public Safety maintains the TCIC database. See id. at 211.
      8
       The trial court had appointed Gonzalez different appellate counsel.


                                         13
request. Gonzalez did not object to the trial court’s considering Exhibit 5 or the PSRS

information. To preserve a complaint for our review, a party must have presented to

the trial court a timely request, objection, or motion sufficiently stating the specific

grounds, if not apparent from the context, for the desired ruling. Tex. R. App. P.

33.1(a)(1); Montelongo v. State, 623 S.W.3d 819, 822 (Tex. Crim. App. 2021). Further,

the party must obtain an express or implicit adverse trial-court ruling or object to the

trial court’s refusal to rule. Tex. R. App. P. 33.1(a)(2); Dixon v. State, 595 S.W.3d 216,

223 (Tex. Crim. App. 2020). Because it is a systemic requirement, this court should

independently review error preservation, and we have a duty to ensure that a claim is

properly preserved in the trial court before we address its merits. Dixon, 595 S.W.3d at

223.

       Here, the trial court twice stated that it was going to consider the PSRS

information in deciding Gonzalez’s appeal-bond request. At no point did Gonzalez

object to the trial court’s considering that information, object to the fact that the

information was neither offered nor admitted into evidence, or object to his not being

able to review and examine the information. 9 He thus forfeited his appellate

complaint. See Tex. R. App. P. 33.1(a)(1).


       9
        To his brief, Gonzalez attached two bills of exception complaining that he was
not provided with a copy of the PSRS information that the trial court considered and
was not afforded an opportunity to object to or comment upon that information
before the trial court ruled on his bail-request motion. See Tex. R. App. P. 33.2.
Gonzalez also attached to his brief email correspondence between his counsel and the
trial court regarding his bills of exception. Neither the bills of exception nor the

                                             14
       But even if Gonzalez had preserved this complaint for our review, we would

overrule it. As the Texas Court of Criminal Appeals has explained, the PSRS report

“appears to be confidential information,” Ex parte Gayosso, 685 S.W.3d 100, 103 (Tex.

Crim. App. 2023) (citing Tex. Gov’t Code Ann. §§ 411.083, .084), and is generated for

the magistrate, not the parties, id. at 106–07 (Newell, J., dissenting). Because it is

confidential information, “the [PSRS] report that the trial court reviews will not be in

the appellate record.” Id. at 103 (Keller, P.J., concurring). Additionally, as we have

noted, “[i]t is this court’s understanding that . . . when a [trial] court prepares a report

using the system, the [trial] court must destroy the report within a short time after the

report’s preparation.” Ex parte Jones, No. 02-23-00164-CR, 2023 WL 7400722, at

*3 (Tex. App.—Fort Worth Nov. 9, 2023, no pet.) (mem. op., not designated for

publication). As the trial court was required to review the confidential PSRS

information when determining bail, the trial court did not err by considering the

information although it was not offered and admitted into evidence. See id. at *2; see

also Gayosso, 685 S.W.3d at 106–07, nn.15–18 (Newell, J., dissenting) (explaining




emails were filed in the trial court and are thus not in the appellate record. Because
they are not in the appellate record, we cannot consider them. See Booth v. State,
499 S.W.2d 129, 135 (Tex. Crim. App. 1973); see, e.g., Sibaluca v. State, No. 02-19-
00150-CR, 2020 WL 6601608, at *8 n.4 (Tex. App.—Fort Worth Nov. 12, 2020, pet.
ref’d) (mem. op., not designated for publication); Erickson v. State, No. 02-19-00287-
CR, 2020 WL 4907364, at *3 (Tex. App.—Fort Worth Aug. 20, 2020, pet. ref’d)
(mem. op., not designated for publication).


                                            15
confidentiality of information generated by PSRS system). We overrule Gonzalez’s

second point.

                    IV. Gonzalez’s County-Jail Disciplinary History

      Gonzalez complains in his first point that the trial court erred by admitting into

evidence a use-of-force report and three inmate-incident reports outlining his

disciplinary history while in the county jail because “the information contained therein

was inadmissible hearsay and irrelevant and counsel was denied the opportunity to

confront and cross[-]examine adverse witnesses.” See U.S. Const. amend VI; Tex.

Const. art. I, § 10; Tex. Code Crim. Proc. Ann. art. 1.25; Tex. R. Evid. 101(e)(3)(C),

402, 801(d), 802.

      The challenged exhibits showed that while confined in the county jail after his

conviction, Gonzalez (1) had to be physically restrained; (2) had urinated on his jail-

cell floor and thrown feces and water under his jail-cell door; (3) had thrown a

checkers piece at a detention officer and when the officer instructed him to pack his

belongings so that he could be escorted out of the housing unit, Gonzalez refused and

then attempted to pull away from officers after they restrained him; and (4) had

possessed prohibited items (a tattoo needle and a bottle of what appeared to be

“hooch”).

      Here, Gonzalez was eligible to be released on bond pending appeal given the

offense of which he was convicted and the length of his sentence. See Tex. Code

Crim. Proc. Ann. art. 44.04(b)–(c). This, along with some of the other factors listed

                                          16
above might have weighed in Gonzalez’s favor in setting a bond amount. See Rubac,

611 S.W.2d 849–50; Jeanty v. State, No. 02-21-00207-CR, 2022 WL 1259065, at

*2 (Tex. App.—Fort Worth Apr. 28, 2022, pet. ref’d) (mem. op., not designated for

publication). But, assuming without deciding that the trial court erred by admitting

into evidence the use-of-force report and the inmate-incident reports, we conclude

that, considering the other unchallenged evidence, such error was harmless. See Tex.

R. App. P. 44.2(a) (explaining that for constitutional error, the court must reverse a

judgment of conviction or punishment unless it determines beyond a reasonable

doubt that the error did not contribute to the conviction or punishment); Ellison v.

State, 494 S.W.3d 316, 325 (Tex. App.—Eastland 2015, pet. ref’d) (“Error in admitting

evidence in violation of the Confrontation Clause is constitutional error and,

therefore, subject to a harm analysis under Rule 44.2(a) of the Texas Rules of

Appellate Procedure.”).

      The trial court concluded that “good cause exists to believe that [Gonzalez] is

likely to commit another offense while on bail.” See Tex. Code Crim. Proc. Ann.

art. 44.04(c). The trial court’s concern about Gonzalez’s propensity to commit further

offenses while on bail is supported not only by the nature of the underlying offense—

continuously violating a permanent protective order—but also by Gonzalez’s twice

violating the temporary protective order, his assaulting Flora, his arrest record, his




                                         17
prior criminal convictions, the PSRS information,10 and his statements and actions

indicating his disregard for court orders. In light of this unchallenged evidence, we

conclude that there was not a “reasonable possibility” that the trial court’s considering

the use-of-force report and the inmate-incident reports might have contributed to the

trial court’s decision to deny Gonzalez’s bail request. See Mosley v. State, 983 S.W.2d

249, 259 (Tex. Crim. App. 1998) (op. on reh’g). We thus hold beyond a reasonable

doubt that any error did not contribute to the trial court’s decision to deny Gonzalez’s

appeal-bond request.11 See Tex. R. App. P. 44.2(a).

      After reviewing the record, we cannot say that the trial court made its decision

to deny Gonzalez an appeal bond without reference to any guiding rules or legal

principles or that its decision was so arbitrary or unreasonable that it lies outside the

zone of reasonable disagreement. See Gonzalez, 544 S.W.3d at 370; Montgomery,

      10
        We have followed the court of criminal appeals’ directive and have obtained
and reviewed the PSRS report. See Gayosso, 685 S.W.3d at 103 (explaining that
although a PSRS report “appears to be confidential information,” an appellate court
“can review it through the proper channels” and holding that if a trial court considers
the report, it is error for the appellate court to not review it).
      11
         Because we hold that any error was harmless under Rule 44.2(a)’s heightened
standard, we need not analyze whether any error in admitting that same evidence in
violation of the Texas Rules of Evidence violated Gonzalez’s substantial rights under
Rule 44.2(b). See Tex. R. App. P. 44.2(b), 47.1; see also Solomon v. State, 49 S.W.3d 356,
365 (Tex. Crim. App. 2001) (explaining that the erroneous admission of evidence is
nonconstitutional error governed by Rule 44.2(b)); Ex parte Daigle, No. 01-21-00311-
CR, 2023 WL 4356408, at *4 (Tex. App.—Houston [1st Dist.] July 6, 2023, no pet.)
(mem. op., not designated for publication) (“The admission of inadmissible evidence
is non-constitutional error, which we must disregard unless it affects the defendant’s
substantial rights.”).


                                           18
810 S.W.2d at 380. Accordingly, we hold that the trial court did not abuse its

discretion by denying Gonzalez bail. See Tex. Code Crim. Proc. Ann. art. 44.04(b)–(c).

We overrule Gonzalez’s first point.

                                      V. Conclusion

      Having overruled Gonzalez’s two points, we affirm the trial court’s order

denying his motion for bond pending appeal.




                                                      /s/ Elizabeth Kerr
                                                      Elizabeth Kerr
                                                      Justice

Do Not Publish
Tex. R. App. P. 47.2(b)

Delivered: August 22, 2024




                                           19
